            Case 2:24-cv-04055-JXN-LDW Document 146 Filed 10/08/24                          Page 1 of 2 PageID:
                                  DUGHI, HEWIT &1240
                                                 DOMALEWSKI, P.C.
RUSSELL L. HEWIT
                                                       ATTORNEYS AT LAW                                OF COUNSEL
CRAIG A. DOMALEWSKI                                                                                      LOUIS JOHN DUGHI, JR.
BRANDON D. MINDE**                                   340 NORTH AVENUE EAST                               WILLIAM L’E. WERTHEIMER
CHARLES M. RADLER, JR.                             CRANFORD, NEW JERSEY 07016                            VINCENT LE BLON
MARK A. PETRASKE*                                          (908) 272-0200                                MARIO C. GURRIERI
HERBERT KRUTTSCHNITT III                            TELECOPIER: (908) 272-0909                           JUDY L. CREELMAN
SCOTT A. HALL                                                 _______________
                                                                                                         MARY LOU DENNIS-SUCKOW
DARA L. SPIRO                                                                                            JAMES F. FERGUSON
MARY ELIZABETH GAZI
                                                   MOORESTOWN OFFICE CENTER
                                                                                                         ROBERT J. BRASS
                                                   704 EAST MAIN STREET, SUITE F
LORI CIARROCCA DUFFY
                                                       MOORESTOWN, NJ 08057
KRISTIN M. CAPALBO
                                                            (856) 242-6951
JENNIFER L. YOUNG                                    TELECOPIER: (908) 272-0909                        RYAN A. NOTARANGELO
RACHEL M. SCHWARTZ                                            _______________                          ALEXA B. LUZZI
PAMELA C. CASTILLO                                                                                     ZACHARY S. WHELAN
RICHARD S. PANITCH                                508 NEW JERSEY AVENUE, SUITE B3                      RACHEL M. BAUER
BENJAMIN H. HAFTEL                                   ABSECON, NEW JERSEY 08201
TIMOTHY M. CRAMMER                                          (609) 677-6996
                                                                                                       * Certified by the Supreme Court of
DAVID J. BISHOP
                                                      TELECOPIER: (609) 677-6926
                                                                                                          New Jersey as a Civil Trial Attorney
TIMOTHY B. CRAMMER                                                                                     ** Certified by the Supreme Court of
STEWART A. CUNNINGHAM                                                                                   New Jersey as a Criminal Trial Attorney
    _________________


WILLIAM H. GAZI (1964-2001)
LAWRENCE WEISS (1961-2011)                                                                      Reply to Cranford Office

                                                      October 8, 2024

              VIA ECF
              Honorable Leda D. Wettre
              United States Magistrate Judge
              United States District Court
              District of New Jersey
              Martin Luther King Building & U.S. Courthouse
              50 Walnut Street
              Newark, NJ 07102

                              Re:    Admission Pro Hac Vice of Counsel on Consent
                                     United States, et al. v. Apple Inc.
                              Civil Action No.: 2:24-cv-04055-JXN-LDW
                              Our File No.:

              Dear Judge Wettre:

                              We represent Non-Party PayPal, Inc. (“PayPal”) in the above-referenced
              litigation. Pursuant to Local Civil Rule 101.1(c), PayPal hereby submits this application for
              the pro hac vice admission of Matthew L. Cantor, Esq., and Jeffrey I. Shinder, Esq., of the
              law firm Shinder Cantor Lerner, LLP. Counsel for Plaintiffs and Defendant consent to this
              application.

                              Enclosed please find the following materials in support of this application:

                         1.   Certification of Craig A. Domalewski in support of the application for
                              admission of Matthew L. Cantor and Jeffrey I. Shinder pro hac vice;
Case 2:24-cv-04055-JXN-LDW           Document 146        Filed 10/08/24      Page 2 of 2 PageID:
                                           1241

                            DUGHI, HEWIT & DOMALEWSKI, P.C.

Honorable Leda D. Wettre
Re:    Admission Pro Hac Vice of Counsel on Consent
       United States, et al. v. Apple Inc.
Civil Action No.: 2:24-cv-04055-JXN-LDW

Page 2

         2.   Certification of Matthew L. Cantor in support of the application for
              pro hac vice admission;

         3.   Certification of Jeffrey I. Shinder in support of the application for
              pro hac vice admission; and

         4.   Proposed form of Order admitting Matthew L. Cantor and Jeffrey I.
              Shinder pro hac vice.

              Please let us know if Your Honor has any questions.

                                     Respectfully Submitted,

                                     DUGHI, HEWIT & DOMALEWSKI

                                     /s/ Craig A. Domalewski, Esq.

                                     Craig A. Domalewski
                                     cdomalewski@dughihewit.com


Enclosures

cc: All Counsel via ECF
